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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
                                                             :
SYNTEL STERLING BEST SHORES                                  :
MAURITIUS LIMITED, et al.,                                   :
                                                             :    15 Civ. 211 (LGS)
              Plaintiffs/Counterclaim-Defendants, :
                                                             :         ORDER
                           -against-                         :
                                                             :
THE TRIZETTO GROUP, et al.,                                  :
                                                             :
              Defendants/Counterclaim-Plaintiffs. :
------------------------------------------------------------ X

LORNA G. SCHOFIELD, District Judge:

        WHEREAS, per the Order at Dkt. No. 934, the parties filed a letter providing a proposed

cross-motion briefing schedule and their respective positions regarding motions for attorneys’

fees, interim measures prior to the adjudication of any motion for permanent injunction and

outstanding issues that remain to be tried (Dkt. No. 937). It is hereby

        ORDERED that the parties shall brief their proposed post-trial motions -- which include

Syntel’s motion for judgment as a matter of law or, in the alternative, a new trial or remittitur,

Syntel’s proposal that the Court make further findings on its equitable defenses of laches and

unclean hands, TriZetto’s motions for a permanent injunction and for pre- and post-judgment

interest, and TriZetto’s unclean hands defense -- according to the following schedule:

            •   Syntel’s Opening Brief: Friday, December 4, 2020

            •   TriZetto’s Opening/Responsive Brief: Tuesday, January 5, 2021

            •   Syntel’s Responsive/Reply Brief: Friday, January 29, 2021

            •   TriZetto’s Reply Brief: Tuesday, February 9, 2021
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       No party shall exceed seventy-five (75) pages of briefing in total. The parties shall email

a courtesy copy of their memoranda of law with hyperlinks to Westlaw for any cited cases and

hyperlinks to any cited exhibits and testimony from the record. The parties shall otherwise

comply with the Court’s Individual Rules, and if in effect, the Emergency Individual Rules and

Practices in light of COVID-19. It is further

       ORDERED that per the parties’ agreement, any motion for attorneys’ fees will be filed

and briefed following entry of a final judgment on appeal. It is further

       ORDERED that by November 13, 2020, the parties shall file a letter providing an

update regarding potential agreements for interim measures prior to adjudication of TriZetto’s

motion for a permanent injunction.


Dated: November 9, 2020
       New York, New York




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